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7    Attorneys for Plaintiff Douglas Coyle
8                                   UNITED STATES DISTRICT COURT
9                                  NORTHERN DISTRICT OF CALIFORNIA

10
     DOUGLAS COYLE,                                  Case No.: 4:16-cv-05675-HSG
11
                      Plaintiff,
12
          v.                                         STIPULATION FOR DISMISSAL OF
13                                                   DEFENDANT EQUIFAX, INC.;
                                                     [PROPOSED] ORDER
14
     EQUIFAX, INC., ET AL.,
15
                      Defendants.
16

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19             TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
20             IT IS HEREBY STIPULATED by and between plaintiff Douglas Coyle and defendant
21   Equifax, Inc. that Equifax, Inc. be dismissed from this action with prejudice pursuant to
22   Federal Rules of Civil Procedure, Rule 41(a)(2), and that each party shall bear its own
23   attorneys’ fees and costs.
24   //
25   //
26   //
27   //
28   //


               STIPULATION FOR DISMISSAL OF DEFENDANT EQUIFAX, INC.; [PROPOSED] ORDER -1-
               Case 4:16-cv-05675-HSG Document 51 Filed 06/09/17 Page 2 of 2



     DATED: June 8, 2017                           Sagaria Law, P.C.
1
                                                   By:     /s/ Elliot Gale
2                                                          Elliot Gale
3
                                                           Attorney for Plaintiff Douglas Coyle

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5
     DATED: June 8, 2017                           Nokes & Quinn, APC
6
                                                   By:     /s/ Thomas P. Quinn, Jr.
7                                                          Thomas P. Quinn, Jr.
                                                           Attorney for Defendant Equifax, Inc.
8

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10
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this

11
     Stipulation. I hereby attest that Thomas P. Quinn, Jr. has concurred in this filing.

12

13
     /s/ Elliot Gale

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16
                                          [PROPOSED] ORDER

17
            Pursuant to the stipulation of the Parties, Equifax, Inc. is dismissed with prejudice.

18
            IT IS SO ORDERED.

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22
     DATED:            June 9, 2017
                                                           Hon. Ha
                                                                H
                                                                Haywood
                                                                   ywood S Gilliam, Jr.
23                                                         UNITED STATES DISTRICT JUDGE
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            STIPULATION FOR DISMISSAL OF DEFENDANT EQUIFAX, INC.; [PROPOSED] ORDER -2-
